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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                         MIAMI DIVISION
                                   CASE NO. 07-20759-CR-JORDAN

   UNITED STATES OF AMERICA             )
                                        )
   vs.
                                        )
   BRIAN OLMEDO                         )
   ____________________________________ )

                                             ORDER
         Mr. Olemdo’s motion to seal [D.E. 604] is GRANTED . The clerk is directed to seal docket
  entry 603 and its attachments.
         DONE and ORDERED in Chambers in Miami, Florida, this 16th day of October, 2008.




                                                     _______________________________
                                                     Adalberto Jordan
                                                     United States District Judge

  cc:    Paul D. Petruzzi, Esq.
